 Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 1 of 29 Page ID #:892



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15
     Class Counsel
16
                             UNITED STATES DISTRICT COURT
17                          CENTRAL DISTRICT OF CALIFORNIA
18                                SOUTHERN DIVISION
19
     PHILIP ALVAREZ, RANDALL                       Case No. 2:18-cv-08605-JVS-SS
20   BETTISON, MARC KELLEHER, and                  DECLARATION OF ROBERT R.
21   DARLENE VAUGH, individually and               AHDOOT IN SUPPORT OF
     on behalf of all others similarly situated,   PLAINTIFFS’ MOTION FOR FINAL
22                                                 APPROVAL OF CLASS ACTION
                       Plaintiffs,                 SETTLEMENT
23
            v.
24                                                 Hon. James V. Selna, presiding

25   SIRIUS XM RADIO INC.,                         Date:     January 25, 2021
                                                   Time:     1:30 PM
26                     Defendant.                  Location: Courtroom 10C
                                                             411 West 4th Street,
27                                                           Santa Ana, CA 92701
28
                                                                 Case No. 2:18-cv-08605-JVS-SS
                          DECLARATION OF ROBERT R. AHDOOT ISO MTN FOR
                           FINAL APPROVAL OF CLASS ACTION SETTLEMENT
 Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 2 of 29 Page ID #:893




 1                       DECLARATION OF ROBERT R. AHDOOT
 2          I, Robert R. Ahdoot, declare under penalty of perjury, pursuant to 28 U.S.C. §
 3 1746 and based on my own personal knowledge and, where indicated as based on
 4 information and belief, that the following statements are true:
 5          1.    I am a partner and founding member of Ahdoot & Wolfson, PC (“AW”),
 6 and a member in good standing of the bar of the State of California. I was appointed by
 7 the Court as one of the Class Counsel in this Action. I respectfully submit this declaration
 8 in support of Plaintiffs’ Motion for Final Approval of Class Action Settlement.1
 9          2.    As explained in my declaration in support of Plaintiffs’ Motion for
10 Attorneys’ Fees and Expenses and for Service Payments (ECF 83-1), AW had the
11 experience and expertise to effectively litigate any and all issues related to this litigation.
12          3.    AW, along with our co-Class Counsel have vigorously and zealously
13 represented the interests of the proposed Class from the inception of this hard-fought
14 litigation until the present, through an onslaught of impediments, facing and overcoming
15 every obstacle plaintiffs could face prior to trial in a class action. The Settlement is the
16 result of extensive arms’-length negotiations overseen by Judge Carl West (Ret.), a
17 respected and experienced JAMS mediator and former California Superior Court Judge.
18          4.    The Settlement represents an achievement that most likely is better than any
19 result Plaintiffs could hope to achieve through continued litigation of these actions, were
20 they to certify a class and make it to trial before a court — no mean feat, particularly
21 given that this Court previously compelled the earliest filed of these actions to individual
22 arbitration under the terms of Defendant’s alleged subscriber agreement.
23          5.    Given the heavy obstacles and inherent risks Plaintiffs face with respect to
24 their claims, the risks inherent in complex class action litigation, the reaction of the Class
25 Members to the Settlement, and based on my extensive experience in complex class
26   1    Unless otherwise defined herein, capitalized words and phrases shall have the
27 same  meaning  as in the Definitions section (Section II) of the Settlement Agreement
   (“Settlement Agreement,” “Settlement,” or “SA”) filed in this Action. (ECF 68.)
28
                                                   1               Case No. 2:18-cv-08605-JVS-SS
                         DECLARATION OF ROBERT R. AHDOOT ISO MTN FOR
                          FINAL APPROVAL OF CLASS ACTION SETTLEMENT
 Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 3 of 29 Page ID #:894




 1 actions similar to this Action, I believe that the Settlement is fair, reasonable, and
 2 adequate, and merits final approval.
 3         6.    After the Court preliminarily approved the proposed Settlement and the
 4 Settlement’s proposed Notice Plan on July 15, 2020 (see Order Regarding Motion for
 5 Preliminary Approval of Class Action Settlement, ECF 75), Class Counsel worked
 6 closely with the Settlement Administrator to supervise dissemination of Notice to Class
 7 Members.
 8         7.    The reaction from Class Members has been resoundingly positive.
 9         8.    The Claim Deadline is January 12, 2021. The Settlement Administrator
10 reports that, as of December 11, 2020, it has received a total of 6,210 Claims, which is
11 higher than the number of claims reported as of December 10, 2020 (i.e. 6,158). (see
12 Declaration of Cameron R. Azari, Esq. on Implementation and Adequacy of Settlement
13 Notice Plan (“2nd Azari Decl.”), ECF 85 ¶ 26.)
14         9.    In addition, there have been numerous inquiries by Class Members to my
15 office all of whom, to date, have expressed support for the terms of the Settlement.
16         10.   The deadline for Class Members to opt-out or object to the Settlement was
17 November 30, 2020. The Settlement Administrator reports that, as of December 10, 2020,
18 only 37 persons submitted valid requests for exclusion from the Settlement and a total of
19 5 objections. (see 2nd Azari Decl. ¶¶ 24-25.) Together, these individuals represent a
20 minuscule percentage (far less than 1%) of the Class.
21                        OBJECTIONS TO THE SETTLEMENT
22         11.   Class Counsel are aware of only five (5) objections to the Settlement. These
23 objections were interposed by the following persons:
24               •      Yves A. Doublette (a true and correct copy of the objection interposed
25 by Mr. Doublette is attached hereto as Exhibit A);
26               •      Adam R. Klock (a true and correct copy of the objection interposed
27 by Mr. Klock is attached hereto as Exhibit B);
28
                                                2              Case No. 2:18-cv-08605-JVS-SS
                        DECLARATION OF ROBERT R. AHDOOT ISO MTN FOR
                         FINAL APPROVAL OF CLASS ACTION SETTLEMENT
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 4 of 29 Page ID #:895




 1                •     Mark E. Raabe (a true and correct copy of the objection interposed by
 2 Mr. Raabe is attached hereto as Exhibit C);
 3                •     Joshua A. Sauberman (a true and correct copy of the objection
 4 interposed by Mr. Sauberman is attached hereto as Exhibit D);
 5                •     Tim Zeichert (a true and correct copy of the objection interposed by
 6 Mr. Zeichert is attached hereto as Exhibit E).
 7
           12.    The Settlement achieved in this litigation is the product of the initiative,
 8
     investigations, and hard work of skilled counsel.
 9
           13.    Based on my experience and my knowledge regarding the factual and legal
10
     issues in this matter, and given the substantial benefits provided by the Settlement, it is
11
     my opinion that the proposed Settlement in this matter is fair, reasonable, and adequate,
12
     and is in the best interests of the Settlement Class Members.
13
14
           I declare under penalty of perjury pursuant to the laws of the United States of
15
     America that the foregoing is true and correct. Executed this 18th day of December 2020
16
     in Los Angeles, California.
17
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19
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                                                      Robert R. Ahdoot
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                                                  3              Case No. 2:18-cv-08605-JVS-SS
                         DECLARATION OF ROBERT R. AHDOOT ISO MTN FOR
                          FINAL APPROVAL OF CLASS ACTION SETTLEMENT
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 5 of 29 Page ID #:896




                                                       EXHIBIT A
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 6 of 29 Page ID #:897
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 7 of 29 Page ID #:898
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 8 of 29 Page ID #:899




                                                       EXHIBIT B
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 9 of 29 Page ID #:900
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 10 of 29 Page ID #:901

            IN-PART OBJECTION TO CLASS ACTION SETTLEMENT
               (Alvarez v. Sirius XM Radio Inc., Case No. 2:18-cv-08605-JVS-SS)
  3. Without disclosure or explanation at time of Subscriber's phone request to make a second
     transfer of the lifetime subscription to an XM branded factory radio in a new 2015 Chevy
     Colorado pickup truck, Defendant failed to disclose to Subscriber that this subscription
     transfer would disqualify the Lifetime Subscriber from certain previously available
     programming.

  4. Subsequent to transfer of subscription to the 2015 Chevy Colorado factory XM branded
     radio, some previously available programming was no longer made available to the Lifetime
     Subscriber. As shown in Pic 1 below, channel 88 ("NFL Radio”) is not available on my “XM”
     branded radio (Pics 1-2).

                         PIC #1                                       PIC #2




  5. Defendant, upon phone request by Subscriber, refused to return Subscriber’s access the
     the previously available programming, stating it is now XM Premium Programming and no
     longer available to Lifetime Subscribers that activate a Sirius radio, unless Subscriber
     enrolled in a fee-based Premium Programming Subscription.

  6. Defendant further refused service restoration to Subscriber after being informed that the
     satellite radio display indicated the “XM” radio branding, and was in fact not branded as
     “Sirius”, further indicating that no lifetime subscriptions include any programming classified
     as Premium Programming, and a separate fee-based subscription for Premium
     Programming is required for all their customers.

  II. Additional Settlement Request Resulting from In-Part Objection:
  Please mandate restoration of lifetime subscriber access (via radio and online) to any and all
  Sirius XM programming currently available, which also existed at any point during which the
  lifetime subscription product was offered, whether or not this programming is currently available
  as premium programming requiring a separate subscription.

  Please contact me regarding any questions regarding this in-part objection.


  Kind Regards,



  Adam R. Klock



                                            Page 2 of 3
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 11 of 29 Page ID #:902

          IN-PART OBJECTION TO CLASS ACTION SETTLEMENT
               (Alvarez v. Sirius XM Radio Inc., Case No. 2:18-cv-08605-JVS-SS)


         Cc:

                 Honorable District Judge James V. Selna of the United States District Court for
                 the Central District of California, Southern Division
                 411 West 4th Street,
                 Santa Ana, CA 92701


                 Jamie Marrs (via email)
                 Epic (3rd Party Settlement Administrator)
                 jmarrs@epiqglobal.com


                 Keith Dubanevich
                 Stoll Stoll Berne
                 Lokting & Sclachter, PC
                 c/o Lifetime Sirius XM Settlement
                 P.O. Box 4079
                 Portland, OR 97208-4079


                 Robert Ahdoot
                 Ahdoot & Wolfson, PC
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                 P.O. Box 4079
                 Portland, OR 97208-4079




                                          Page 3 of 3
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 12 of 29 Page ID #:903




                                                       EXHIBIT C
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 13 of 29 Page ID #:904
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 14 of 29 Page ID #:905
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 15 of 29 Page ID #:906
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 16 of 29 Page ID #:907
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 17 of 29 Page ID #:908
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 18 of 29 Page ID #:909




                                                       EXHIBIT D
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 19 of 29 Page ID #:910
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 20 of 29 Page ID #:911
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 21 of 29 Page ID #:912
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 22 of 29 Page ID #:913
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 23 of 29 Page ID #:914
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 24 of 29 Page ID #:915
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 25 of 29 Page ID #:916
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 26 of 29 Page ID #:917




                                                       EXHIBIT E
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 27 of 29 Page ID #:918
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 28 of 29 Page ID #:919
Case 2:18-cv-08605-JVS-SS Document 89-1 Filed 12/18/20 Page 29 of 29 Page ID #:920
